          Case 1:20-cr-00198-WMR Document 25 Filed 07/27/20 Page 1 of 1

                                              _____________                          IJ.S.D.C ATLANTA
ORIG I NAL                                                                     Date: Jul 172020
Ez:J                                                                                 FILED IN CHAMBERS
                        UNITED STATES DISTRICT COURT                           JAMES N. HATTEN, Clerk
                                  FOR THE                                      8y s/B. Evans
                        NORTHERN DISTRICT OF GEORGIA                                     Deputy Clerk
                              ATLANTA DIVISION

                           WARRANT FOR ARREST                                        ruED ~N clERics 0EE~CE
                                   FOR                                                        U.S.D.C. M3M3
                   VIOLATION OF THE CONDITIONS OF BOND                                        ~ 21 2020

 UNITED STATES OF AMERICA                 )   Court No. 1:20-00379M-1     —
          v.                              )   KILEDWNPER2JZAL            351k
 Santwon Antonio Davis                    )


THE UNITED STATES MARSHAL
OR ANY OTHER AUTHORIZED OFFICER

 YOU ARE HEREBY COMMANDED to arrest Santwon Antonio Davis and bring him forthwith
 before the Honorable Justin S. Anand or the nearest available United States Magistrate Judge to
 answer charges that he has violated the conditions of bond imposed by the United States Magistrate
 Judge for the Northern District of Georgia on May 21, 2020, and for the purpose of setting new
 conditions of bond.

 Signature of Issuing Officer:


      A    _____   ______                                                     July 17, 2020
  onorable Justin S. Anand                                                      Date
 United States Magistrate Judge

                                               RETURN
  This warrant was received and executed with the arrest of the above-named defendant at



  DATE RECEIVED        NAME/TITLE OF ARRESTING OFFICER         SIGNATURE OF ARRESTING OFFICER

  D9-2o~2o2o
  DATE OF ARREST                                                               c/c
   b]-)2       2~2~         C~o/c~ ~                                     C-kw~cC tLiN-~i/ctsni

                                                      us!&~ ~~~;?‘-°‘9
